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                                                                                   FILED
                                                                                U.S. DISTRICT COURT
                                                                            EASTERN DISTRICT ARKANSAS

                                                                                   OCT 2 7 2021
                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS • T " ! 1 ~ ' CLERK
                             DELTA DIVISION         By: ~ . DEPCLERK

TREVOR CASEY                                                                   PLAINTIFF

V.                          CASE NO.    i '•U-w-\1::?J--Kelb
TRUCKS FOR YOU, INC. and
RICKIE EUGENE SIMMONS                                                      DEFENDANTS

                               NOTICE OF REMOVAL

        Under 28 U.S.C. §§ 1441 and 1446, defendant Trucks For You, Inc. ("TFY'')

files this notice of removal from the Circuit Court of St. Francis County, Arkansas,

to the United States District Court for the Eastern District of Arkansas, Delta

Division. Removal jurisdiction is based upon diversity of citizenship, 28 U.S.C.

§ 1332, and is founded on the following:

        1.    This case, styled Trevor Casey v. Trucks For You, Inc. and Rickie

Eugene Simmons, was originally filed on September 16, 2021 in the Circuit Court of

St. Francis County, Arkansas, as civil case number 62CV-21-166-2. This lawsuit is

a civil action within the meaning of the Acts of Congress relating to the removal of

cases in federal court.

        2.    TFY received service of process on October 13, 2021.

        3.    This notice is filed within thirty days (or the first filing day thereafter)

of service on Trucks of plaintiffs complaint and is therefore timely filed pursuant to

28 U.S.C. § 1446(b)(l).
                                                 This case assigned to District Judge   f)Oj(t(
                                                 and to Magistrate Judge~:\\0.,¥,IM(._(._\...,S______




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         4.      Under 28 U.S.C. § 1446(a), TFY attaches as Exhibit "A" to this notice

the complaint in this matter and summonses, which constitute all "process,

pleadings, and orders" served to date.

         5.      This case is removed under 28 U.S.C. § 1332(a) because this action is

between citizens of different states, and the matter in controversy exceeds the sum

or value of $75,000.00, exclusive of interest and costs.

         6.      Upon information and belief, and based on the allegations of his

complaint, plaintiff is an individual citizen and resident of the state of Texas. See

Ex. A, Complaint,     ,r 1.
         7.      TFY is an Oklahoma Corporation with its principal place of business in

Muskogee, Oklahoma. A corporation is deemed to be a citizen of its state of

incorporation and the state of its principal place of business. 28 U.S.C. § 1332(c)(l).

As such, TFY is a citizen of the state of Oklahoma.

         8.      Upon information and belief, and based on the allegations of the

plaintiff's complaint, defendant Rickie Eugene Simmons is an individual citizen and

resident of the state of Alabama. See Ex. A, Complaint,       ,r 3.
         9.      Complete diversity exists in this matter because plaintiff is a citizen of

the state of Texas and defendants are both citizens of states other than Texas.

         10.     As to the amount in controversy, the plaintiffs complaint expressly

seeks to recover damages against defendants "in excess of the amount required for

federal court jurisdiction in diversity of citizenship cases." See Ex. A, Complaint,

,r 40.


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        11.      Accordingly, this Court has original diversity jurisdiction of this action

under 28 U.S.C. § 1332(a) and the action is removable pursuant to 28 U.S.C.

§ 1441(a).

        12.      The United States Court for the Eastern District of Arkansas, Delta

Division, embraces the county in which the state court action is now pending.

        13.      This notice of removal is signed under Rule 11 of the Federal Rules of

Civil Procedure, as required by 28 U.S.C. § 1446(a).

        14.      Written notice of the filing of this notice will promptly be given to

plaintiff, and, together with a copy of this notice of removal, will be filed with the

Circuit Court of St. Francis County, Arkansas, as provided by 28 U.S.C. § 1446(d).

        15.      Undersigned counsel states that this removal is well grounded in fact,

warranted by existing law, and not interposed for an improper purpose.

        16.      Nothing in this notice of removal shall be interpreted as a waiver or

relinquishment of TFY's right to assert any defense or affirmative matter, whether

under Federal Rule of Civil Procedure 8(c), Federal Rule of Civil Procedure 12(b), or

otherwise.

        17.      TFY expressly reserves any and all defenses which may be available to

it in this action.

        18.      Plaintiff has not filed a proof of service as to defendant Simmons, and

pursuant to Fed. R. Civ. P. ll(b)(3), after a reasonable opportunity for further

investigation or discovery, it will likely be shown that Simmons has not been served

with a summons and copy of the complaint at the time this notice of removal is filed.



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Because defendant Simmons has not been served with process, his consent is not

required to remove this action to federal court. 28 U.S.C. § 1446(b)(2)(A); see also

Reaves v. Transport Corp. of America, Inc., 2016 WL 4148297, at *1 (E.D. Ark. Aug.

4, 2016) (citing Wright v. Missouri Pac. R. Co., 98 F.2d 34, 35-36 (8th Cir. 1938))

("[A] non-resident defendant, although he is charged jointly with other defendants,

need not be joined in removal if he has not been served with summons.").

        WHEREFORE, defendant Trucks For You, Inc. removes this action from the

Circuit Court of St. Francis County, Arkansas, to the United States District Court

for the Eastern District of Arkansas, Delta Division, and seeks resolution by this

Court of all issues raised herein.

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                                         By:~·
                                                ~ael A.Thompson(2010
                                               Zachary R. Trail (2018171)

                                               Attorneys for Trucks For You, Inc.




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                             CERTIFICATE OF SERVICE

        On October 27, 2021, a copy of the foregoing was served by electronic mail on

the following:

        Richard J. Kroll
        Cory J. Floyd
        NORTON WOOD FLOYD
        315 Main Street
        Texarkana,Arkansas75504
        richard@nortonwoodfloyd.com
        cory@nortonwoodfloyd.com

        Attorneys for Plaintiff



                                        Z a ~




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      IN THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS

TREVOR CASEY                                                          PLAINTIFF

vs.                        CASE NO. 62CV-21-166-2

TRUCKS FOR YOU, INC. and
RICKIE EUGENE SIMMONS                                                 DEFENDANTS


                                   SUMMONS
THE STATE OF ARKANSAS TO DEFENDANT:

      Trucks For You, Inc.
      Attn: Jay Calavan, Registered Agent
      3303 N. 32nd Street
      Muskogee, Oklahoma 74401

A lawsuit has been filed against you. The relief demanded is stated in the attached
Plaintiffs Original Complaint. Within 30 days after service of this Summons on you
(not counting the day you received it)• or 60 days if you are incarcerated in any jail,
penitentiary, or other correctional facility in Arkansas - you must file with the Clerk
of this Court a written answer to the complaint or a motion under Rule 12 of the
Arkansas Rules of Civil Procedure.

The answer or motion must also be served on Plaintiff by and through his attorney,
whose name and address is:

      Richard J. Kroll
      Norton• Wood• Floyd
      315 Main Street
      Texarkana,Texas75501

If you fail to respond within the applicable time period, judgment by default may be
entered against you for the relief demanded in the complaint.

                                               CLERK OF COURT
      [Clerk Stamp & Seal]


                                             ~dx!fiu;J
                                               Clerk or Deputy Clerk

                                               Date: _..<-,;@_,----'.I/'----~-=/,_____




                                                                                EXHIBIT"A"
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             IN ·THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS

TREVOR CASEY                                                                 PLAINTIFF

vs.                                  No.:   62C.V-:J,1-J{u- ~
TRUCKS FOR YOU, INC. and
RIC.KIE EUGENE SIMMONS                                                   DEFENDANTS

                           PLAINTIFFS ORIGINAL COMPLAINT
         COMES NOW, Plaintiff' Trevor Casey (hereinafter "Casey" or "Plaintiff"), and

for this, his Original Complaint against Defendant, Trucks for You,             Inc.   and

Defendant, Rickie Eugene Simmons (hereinafter collectively referred to as

"Defendants'1 would show this Court as follows:

         1.      Plaintiff Trevor Casey is a citizen and resident of Gregg County, Texas.

         2.      Upon information and belief, Defendant Trucks for You, Inc. is a

Domestic For-Profit Business Corporation registered in Oklahoma.              Defendant

Trucks for You, Inc.'s registered agent is Jay Calavan and may be served with process

at 8808 N. 32nd Street, Muskogee, Oklahoma, 74401.

        3.       Defendant Rickie Eugene Simmons (hereinafter "Simmons"), on

information and belief, is a citizen and resident of Mobile County, Alabama. Upon

information and belief, Defe~dant may be served with process at 10651 Hill.crest

Drive East, Grand Bay, Alabama, 36541-5638.

                              VENUE AND JURISDICTION

        4.       Venue is proper in this Court pursuant to Ark. Code Ann. § 16-60-

lOl(a)(l) because St. Francis, County, Arkansas is "[t]he county in which a

substantial part of the event or omission giving rise to the cause of action occurred[.]"

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   SEP 16 2021
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       5.       This Court may properly exercise personal jurisdiction over Defendants

 pursuant to Ark. Code Ann. § 16-4-101 because they maintain continuous and

systematic contacts with Arkansas and, as described below1 Defendants committed

tortious acts against Plaintiff in this State.

                                         FACTS

       6.       On or about September 19, 2018, at approximately 1:40 p.m., Plaintiff

was traveling Eastbound on Interstate 40 ("I-40") when he suffered bodily injuries

and property damage resulting from Defendants' negligence which caused a sudden

and violent collision of the parties' vehicles.

       7.      Defendant Simmons was driving a 2016 Freightliner owned by

Defendant Trucks for You, Inc. when Simmons negligently attempted to change

lanes, crossing the center line and colliding with Plaintiffs vehicle. Plaintiff's vehicle

was violently jolted off the interstate into the median forcing him to collide with the

cable barrier before his vehicle finally came to rest in the interstate.

      8.       Simmons proximately caused the injuries and damages described above

through negligent acts, including, but not limited to, the following:

               a.    Failure to maintain control of the vehicle;

               b.    Driving in a reckless manner;

               c.    Failing to keep a proper lookout;

               d.    Failing to yield the right of way;

               e.    Driving too fast for conditions;




PLAINTIFF'S ORIGINAL COMPLAINT                                              PAGE20F 10
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                f.    Failing to use ordinary care under the circumstances, all of which

                      are against the laws of the State of Arkansas.

                                         COUNT I.
                                       NEGLIGENCE

       9.       Paragraphs 1 through 8 are incorporated by reference as if hereby stated

word for word.

       10.     Simmons owed a duty of ordinary care to Plaintiff, Trevor Casey.

       11.     Simmons breached his duty of ordinary care when he negligently

collided with Casey's vehicle.

       12.     As a result of Simmons negligence, Plaintiff Casey suffered damages

and should be awarded a monetary judgment in an amount to be determined at trial.

                                        COUNT IL
                                 NEGLIGENT ENTRUSTMENT

      13.      Paragraphs 1 through 12 are incorporated by reference as if hereby

stated word for word.

      14.      The vehicle driven by Simmons was owned by Trucks for You, Inc.

      15.      Trucks for You, Inc. knew or had reason to know that Simmons was

incompetent, inexperienced, or reckless, and Trucks for You, Inc. knew or had reason

to know of Simmons's conditions and/or proclivities.

      16.      With this knowledge, Trucks for You, Inc. entrusted its vehicle to

Simmons. The entrustment of this vehicle, with knowledge of Simmons's conditions

and/or proclivity for incompetence, inexperience, and/or recklessness created an

appreciable risk of harm which could lead to injury of a fellow motorist. Trucks for

PLAINTIFF'S ORIGINAL COMPLAINT                                            PAGE30F    10
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 You, Inc. owed a duty of ordinary care, and in allowing Simmons to use its vehicle, it

 breached that duty.

        17.   AB a result of Trucks for You, Inc.'s negligent entrustment, Plaintiff

suffered damages and should be awarded a monetary judgment in           ~   amount to be

determined at trial.

                                     COUNT Ill.
                             RESPONDEAT SUPERIOR/AGENCY

        18.   Paragraphs 1 through 17 are incorporated by reference as if hereby

stated word for word.

       19.    Separate Defendant, Trucks for You, Inc., is liable for the tortious

actions of Separate Defendant, Rickie Eugene Simmons, as Simmons was an

employee and/or agent of Trucks for You, Inc.

       20.    At the time of the collision described above, Simmons was acting within

the scope .of his employment and/or agency with True.ks for You, Inc.

       21.    Because the commercial truck was entrusted to Simmons by Trucks for

You, Inc., and because Simmons was operating the truck in the course and scope of

his employment/agency with Trucks for You, Inc., Defendant Trucks for You, Inc. is

vicariously liable for all damages caused by Simmons as a result of Simmons's

collision.

                                    . CoUNTIV.
                       NEGLIGENCE AGAINST TRUCKS FOR You, INC.

       22.    Paragraphs 1 through 21 are incorporated by reference as if hereby

stated word for word.

PLAINTIFF'S ORIGINAL COMPLAINT                                              PAGE4OF10
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       23.   Defendant Trucks for You, Inc. had a non-delegable duty to ensure that

its drivers and_ vehicles were reasonably safe and complied with all laws and industry

standards concerning the safe operation of commercial motor vehicles.

      24.    Defendant Trucks for You, Inc. breached the above-mentioned duties

and was therefore negligent in one or more of, but not limited to, the following ways:

             a.     Failing to verify and ensure that Simmons operated the truck in

                  · a reasonably manner and abided by all laws goveming the safe

                   operation of commercial motor vehicles in violation of 49 C.F.R. §

                   392.1;

             b.    Failing to properly train and instruct Simmons on defensive

                   driving, safe driving, proper following distance, and proper look

                   out in violation of 49 C.F.R. § 383.111;

             c.    Failing to properly supervise Simmons and identify dangerous

                   and negligent driving behaviors that could have been corrected in

                   time to avoid this crash;

             d.    Knowingly failing to promote and enforce systems and procedures

                   to ensure compliance, safety, and accountability for the safe

                   operation of commercial motor vehicles and, thus, creating a zone

                   and culture of risk that constituted a dangerous mode of operation

                   reasonably anticipated to cause injury and/or death to the

                   traveling public, including Plaintiff Casey.




PLAINTIFF'S ORIGINAL COMPLAINT                                          PAGE50F    10
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       25.     Defendant Trucks for You, Inc.'s negligent conduct also violated laws

intended to protect and prevent crashes with road users like Plaintiff Casey.

       26.     Defendant Trucks for You, Inc.'s negligence directly and proximately

caused Plaintiff Casey's damages.

                                        CoUNTV.
            NEGLIGENT Hm.lNG AND RETENTION AGAINST TRUCKS FOR You, INC.

      27.      Paragraphs 1 through 26 are incorporated by reference as if hereby

stated word for word.

      28.      Defendanj; Trucks for You, Inc. had a non-delegable duty to only hire

and retain safe, qualified, and competent professional truck drivers to operate its

commercial motor vehicles.

      29.      Defendant Trucks for You, Inc. breached the above-mentioned duties

and was therefore negligent in one or more of: but not limited to, the following ways:

               a.    Failing to preform or improperly performing background, driving

                     record, physical fitness to drive and/or charter investigations that

                    would have revealed Simmons was unfit to operate a commercial

                    motor vehicle in violation of 49 C.F.R. § 391.21 and § 391.23;

               b.   Hiring and retaining Simmons despite his subpar safety and

                    driving record, which was or should have been known to

                    Defendant Trucks for You, Inc. in violation of 49 C.F.R. § 391.11

                    and § 391.13;




PLAINTIFF'S ORIGINAL COMPLAINT                                             PAGE60F    10
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               c.    Failing to perform or improperly performing the review, audit, or

                     corrective actions to verify Simmons's knowledge of and

                     compliance with the laws and industry standards concerning the

                     safe operation of commercial motor vehicles in violation of 49

                     C.F.R. § 392. l(a); and

               d.    Failing to perform or improperly performing the annual

                     performance reviews, and checking medical evaluations, driving

                     and personal records that would have revealed Simmons was

                     unqualified and unfit to operate a commercial motor vehicle in

                     violation of 49 C.F.R. § 391.25 and§ 391.27.

         30.   Defendant Trucks for You, Inc.'s negligent conduct also violated laws

intended to protect and prevent crashes with vulnerable road users like Plaintiff .

Casey.

         31.   Defendant Trucks for You, Inc.'s negligence directly and proximately

caused Plaintiff Casey's damages.

                                       COUNT VI.
DANGEROUS INSTRUMENTALITY LIABILITY AGAINST DEFENDANT TRUCKS FOR You, INC.

      32.      Paragraphs 1 through 31 are incorporated by reference as if hereby

stated word for word.

      33.      At the time of the collision, Defendant Simmons was operating the

truck, a dangerous instrumentality, with Defendant Trucks for You, Inc.'s

permission.


PLAINTIFF'S ORIGINAL COMPLAINT                                          PAGE70F10
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       34.    Therefore, Defendant Trucks for You, Inc. is liable for Defendant

Simmons's negligence and the resulting damages.

                                     DAMAGES

       35.   Paragraphs 1 through 34 are incorporated by reference as if hereby

stated word for word.

       36.   As a direct and proximate result of Defendants' negligence, Plaintiff

Trevor Casey suffered painful injuries to his body and damages which include the

following:

             a.    Physical pain and mental anguish in the past and future;

             b.    Disfigurement in the past and future;

             c.    Physical impairment in the past and future;

             d.    Medical expenses in the past and future;

             e.    Loss of household services in the past and future;

             f.    Loss of income in the past and future;

             g.    Past and future out of pocket expenses; and

             h.    Property damage.

                           CONDITIONS PRECEDENT

      37.    Paragraphs 1 through 36 are incorporated by reference as if hereby

stated word for word.

      38.    All conditions precedent to suit have been performed or have occurred.




PLAINTIFF'S ORIGINAL COMPLAINT                                          PAGE 8 OF   10
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                                          JURYDEMAND

               39.   Plaintiff, in accordance Ark. R. Civ. P. 38, hereby dei:n,ands a trial by

     jury as to all issues contained herein which are triable of right by a jury.

                                              PRAYER

               40.   Plaintiff seeks the above damages in an amount the jury determines to

     be fair and reasonable and demand damages in excess of the amount required for

     federal court jurisdiction in diversity of citizenship cases.

               41.   Plaintiff also seeks punitive damages in an amount the jury determines

     sufficient to pmrish Defendants and deter other from similar conduct in the future

           WHEREFORE, PREMISES CONSIDERED, Plaintiff Trevor Casey prays that

     Def~mdants be cited to appear herein and that after a trial Plaintiff be awarded all

     relief requested herein, prejudgment interest, post-judgment interests, costs and all

     other relief to which Plaintiff would show himself justly entitled, whether at equity

     or law.




     PLAINTIFF'S ORIGINAL COMPLAINT                                             PAGE90F   10
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                                          Respectfully Submitted,


                                          NORTON WOOD FLOYD
                                          315 Main Street
                                          Texarkana, Texas
                                          Tel: (903) 823-1321
                                          Fax: (903) 823-1325

                                          · ~
                                    By:

                                          Ark. Bar No.: 2018168
                                          richard@nortonwoodfloyd.com


                                          Cory J. Floyd
                                          Ark. Bar No.: 2006324
                                          cory@nortonwoodfloyd.com

                                          ATl'ORNEYS FOR PLAINTIFF

                                          TREVOR CASEY




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CASEY V. TRUCKS FOR You, INC. AND RICKIE EUGENE SIMMONS
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